Case 0:19-cv-61447-RKA Document 17 Entered on FLSD Docket 07/22/2019 Page 1 of 27



                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA
                            CASE NO. 19-61447-CIV-ALTMAN/Hunt

  GUCCI AMERICA, INC.,

               Plaintiff,

  vs.

  ANXUNSS a/k/a ZXNQIQI; BALGEY; BBNO1;
  BOZHOU CITY NOXIN TRADING CO., LTD;
  CANLANS; COUBIN; DORAPOCKET; FLOWERORLD;
  GOES BOYS&GIRLS; HE AIHUA; HUACHENG
  GONGMAO CO.LTD.; HUUT; JIEHAOYUNTONG;
  JIUTOPAA; MARCO K MULLINS; MAVON;
  MINGYUMING; MINKKI; NUTLCE; QEWY; SHIJIAT;
  SHIZONGMAOYI; SUN HUI BO; YUNGUANTUI7FR;
  KUNINGANLOVERZ; 45MKJ8NB20; ALAIYACASE;
  ALFATKU_0; AMYMA123A; ARKTIC1955; ARZ058;
  CUSTOM-TEES; DIAKARTIN_4;
  DISCOUNTFITNESS777; EDSOFART; FLAD_5;
  FLNASR_0; GLENDA86; GUNDOPACO-0; HIGH-
  QUALITY-MARKET; JACKHANDSMOOTH;
  JIANGAILV; LANLIANGDAO519153;
  LIANXINNUO40448; LIUIUEYY; MBXSTORE;
  MEMERY-31; MOARN-28; MYSNAI_0; NEDDY.99
  a/k/a BLUEBLOOD.99; NUR_97; PETITEMOTHER45;
  PUXINGJING85644; QUNLA-84; RUBIDA*;
  SAMPOERNA199; SISKDARWANT-0; STORE1081;
  TANITANJAN_0; TESARINDU_BIZ;
  WHITEMAGICART; YISHENGPINGAN226 a/k/a
  WPEEQ7772; YONGKWIJANARK-0; CHIBI STORE;
  FUSHIONSHOP; HAPPYDOGDOGSTORE;
  JERRYSHOPPE; APILOOKING; LZTEAM; SHAGOR;
  and TIFFYLOVE, Each an Individual, Partnership, or
  Unincorporated Association,

              Defendants.
  ________________________________________________/

         AMENDED COMPLAINT FOR DAMAGES AND INJUNCTIVE RELIEF

        Plaintiff, Gucci America, Inc. (“Plaintiff” or “Gucci”) hereby sues Defendants, the

  Individuals, Partnerships, and Unincorporated Associations identified in the caption above,
Case 0:19-cv-61447-RKA Document 17 Entered on FLSD Docket 07/22/2019 Page 2 of 27



  which are set forth on Schedule “A” (collectively “Defendants”). Defendants are promoting,

  selling, offering for sale and distributing goods bearing counterfeits and confusingly similar

  imitations of Gucci’s trademarks within this district through various Internet based e-commerce

  stores using the seller identification names set forth on Schedule “A” hereto (the “Seller IDs”). In

  support of its claims, Gucci alleges as follows:

                                    JURISDICTION AND VENUE

          1.       This is an action for federal trademark counterfeiting and infringement, false

  designation of origin, common law unfair competition, and common law trademark infringement

  pursuant to 15 U.S.C. §§ 1114, 1116, and 1125(a), and The All Writs Act, 28 U.S.C. § 1651(a).

  Accordingly, this Court has subject matter jurisdiction over this action pursuant to 15 U.S.C. §

  1121 and 28 U.S.C. §§ 1331 and 1338. This Court has supplemental jurisdiction pursuant to 28

  U.S.C. § 1367 over Gucci’s state law claims because those claims are so related to the federal

  claims that they form part of the same case or controversy.

          2.       Defendants are subject to personal jurisdiction in this district, because they direct

  business activities toward and conduct business with consumers throughout the United States,

  including within the State of Florida and this district, through at least the Internet based e-

  commerce stores accessible in Florida and operating under their Seller IDs.

          3.       Venue is proper in this Court pursuant to 28 U.S.C. § 1391 since Defendants are,

  upon information and belief, aliens who are engaged in infringing activities and causing harm

  within this district by advertising, offering to sell, selling, and/or shipping infringing products

  into this district.




                                                     2
Case 0:19-cv-61447-RKA Document 17 Entered on FLSD Docket 07/22/2019 Page 3 of 27



                                         THE PLAINTIFF

          4.      Gucci is a corporation organized under the laws of the State of New York with its

  principal place of business in the United States located at 195 Broadway, 14th Floor, New York,

  New York 10007. Gucci operates boutiques throughout the world, including within this district.

  Gucci is, in part, engaged in the business of manufacturing and distributing throughout the

  world, including within this district, a variety of high quality luxury goods under multiple world

  famous common law and federally registered trademarks, including those identified in Paragraph

  15 below. Gucci offers for sale and sells its trademarked goods within the State of Florida,

  including this district, and throughout the United States. Defendants, through the sale and offer

  to sell counterfeit and infringing Gucci branded products, are directly, and unfairly, competing

  with Gucci’s economic interests in the State of Florida and causing Gucci harm within this

  jurisdiction.

          5.      Like many other famous trademark owners in the luxury goods market, Gucci

  suffers ongoing daily and sustained violations of its trademark rights at the hands of

  counterfeiters and infringers, such as Defendants herein, who wrongfully reproduce and

  counterfeit Gucci’s trademarks for the twin purposes of (i) duping and confusing the consuming

  public and (ii) earning substantial profits. The natural and intended byproduct of Defendants’

  actions is the erosion and destruction of the goodwill associated with the Gucci name and

  associated trademarks and the destruction of the legitimate market sector in which it operates.

          6.      In order to combat the indivisible harm caused by the combined actions of

  Defendants and others engaging in similar conduct, each year Gucci expends significant

  monetary resources in connection with trademark enforcement efforts, including legal fees,

  investigative fees, and support mechanisms for law enforcement, such as field training guides




                                                  3
Case 0:19-cv-61447-RKA Document 17 Entered on FLSD Docket 07/22/2019 Page 4 of 27



  and seminars. The recent explosion of counterfeiting over the Internet, particularly through

  online marketplace platforms, has created an environment that requires companies, such as

  Gucci, to expend significant time and money across a wide spectrum of efforts in order to protect

  both consumers and itself from the ill effects of confusion and the erosion of the goodwill

  connected to Gucci’s brand.

                                        THE DEFENDANTS

          7.      Defendants are individuals and/or business entities of unknown makeup, each of

  whom, upon information and belief, either reside and/or operate in foreign jurisdictions with lax

  trademark enforcement systems, redistribute products from the same or similar sources in those

  locations, and/or ship their goods from the same or similar sources in those locations to

  fulfillment centers within the United States to redistribute their products from that location.

  Defendants have the capacity to be sued pursuant to Federal Rule of Civil Procedure 17(b).

  Defendants target their business activities toward consumers throughout the United States,

  including within this district, through the simultaneous operation of commercial Internet based e-

  commerce stores via the Internet marketplace websites, Amazon.com, Bonanza.com, eBay.com,

  Storenvy.com, and Wish.com under the Seller IDs.

          8.      Upon information and belief, Defendants use aliases in connection with the

  operation of their businesses, including but not limited to those identified by the same Defendant

  Number on Schedule “A.”

          9.      Defendants are the past and present controlling forces behind the sale of products

  bearing counterfeits and infringements of Gucci’s trademarks as described herein operating and

  using at least the Seller IDs.




                                                  4
Case 0:19-cv-61447-RKA Document 17 Entered on FLSD Docket 07/22/2019 Page 5 of 27



         10.     Upon information and belief, Defendants directly engage in unfair competition

  with Gucci by advertising, offering for sale, and selling goods bearing counterfeits and

  infringements of one or more of Gucci’s trademarks to consumers within the United States and

  this district through Internet based e-commerce stores using, at least, the Seller IDs and

  additional names or seller identification aliases not yet known to Gucci. Defendants have

  purposefully directed some portion of their illegal activities towards consumers in the State of

  Florida through the advertisement, offer to sell, sale, and/or shipment of counterfeit and

  infringing Gucci branded goods into the State.

         11.     Upon information and belief, Defendants have registered, established or

  purchased, and maintained their Seller IDs. Upon information and belief, Defendants have

  engaged in fraudulent conduct with respect to the registration of the Seller IDs by providing false

  and/or misleading information to the Internet based e-commerce platforms where they sell during

  the registration or maintenance process related to their respective Seller ID. Upon information

  and belief, some Defendants have registered and/or maintained their Seller IDs for the sole

  purpose of engaging in illegal counterfeiting activities.

         12.     Upon information and belief, Defendants will continue to register or acquire new

  seller identification aliases for the purpose of selling and offering for sale goods bearing

  counterfeit and confusingly similar imitations of one or more of Gucci’s trademarks unless

  preliminarily and permanently enjoined.

         13.     Defendants’ Internet-based businesses amount to nothing more than illegal

  operations established and operated in order to infringe the intellectual property rights of Gucci

  and others.




                                                    5
Case 0:19-cv-61447-RKA Document 17 Entered on FLSD Docket 07/22/2019 Page 6 of 27



         14.     Defendants’ business names, i.e., the Seller IDs, associated payment accounts,

  and any other alias seller identification names used in connection with the sale of counterfeit and

  infringing goods bearing one or more of Gucci’s trademarks are essential components of

  Defendants’ online activities and are one of the means by which Defendants further their

  counterfeiting and infringement scheme and cause harm to Gucci. Moreover, Defendants are

  using Gucci’s famous brand name and trademarks to drive Internet consumer traffic to their e-

  commerce stores operating under the Seller IDs, thereby increasing the value of the Seller IDs

  and decreasing the size and value of Gucci’s legitimate marketplace and intellectual property

  rights at Gucci’s expense.

                               COMMON FACTUAL ALLEGATIONS

         Plaintiff’s Business and Trademark Rights

         15.     Gucci is the owner of all rights in and to the following trademarks, which are

  valid and registered on the Principal Register of the United States Patent and Trademark Office

  (collectively the “Gucci Marks”):


                          Registration      Registration
      Trademark                                                        Class(es) / Good(s)
                           Number              Date

                                                            IC 018 – pocketbooks, wallets, travel
                                                            and duffel bags, attache cases, toilet
                                                            cases sold empty and shoe bags.

                                            September 9,    IC 018 – umbrellas.
        GUCCI              0,876,292
                                               1969
                                                            IC 021 – vacuum bottles, compacts sold
                                                            empty and vanity cases sold empty.

                                                            IC 025 – shoes and boots.
                                                        IC 025 – neckties, scarves, belts,
                                           November 21,
                           1,106,722                    footwear, shirts, sweaters, coats, suits,
                                              1978
                                                        and bathing suits.




                                                  6
Case 0:19-cv-61447-RKA Document 17 Entered on FLSD Docket 07/22/2019 Page 7 of 27




                        Registration   Registration
      Trademark                                                   Class(es) / Good(s)
                         Number           Date

                                                    IC 018 – wallets, purses, handbags,
                                                    shoulder bags, clutch bags, tote bags,
                                       November 28, card cases, partly and wholly of leather,
                         1,107,311
                                          1978      key cases, passport cases, cosmetic
                                                    cases, attache cases, valises, suitcases,
                                                    duffles.

                                                       IC 018 – wallets, purses, handbags,
                                                       shoulder bags, clutch bags, tote bags,
                         1,122,780     July 24, 1979
                                                       card cases, attache cases, valises,
     (Green Red Green
       Stripe Design)
                                                       suitcases, duffles, and key cases.

                                                     IC 025 – clothing-namely, neckties,
                         1,158,170     June 23, 1981 scarves, belts, footwear, shirts, coats,
                                                     hats, dresses, and bathing suits.


                                                       IC 025 – neckties, scarves, belts,
                                       September 8,    footwear, shirts, sweaters, coats, suits,
        GUCCI            1,168,477
                                          1981         dressing gowns, hats, socks, dresses, and
                                                       bathing suits.

                                                       IC 014 – bracelets, rings, necklaces,
                                                       cufflinks, pendants, pins, money clips,
        GUCCI            1,200,991     July 13, 1982
                                                       keyrings, all made wholly or in part of
                                                       precious metal.
                                                     IC 014 – jewelry-namely, earrings,
        GUCCI            1,340,599     June 11, 1985 made wholly or in part of precious
                                                     metal.



                         1,483,526     April 5, 1988   IC 025 – footwear.
     (Green Red Green
       Stripe Design)

                                        January 28,
                         2,680,237                     IC 014 – jewelry.
                                           2003




                                             7
Case 0:19-cv-61447-RKA Document 17 Entered on FLSD Docket 07/22/2019 Page 8 of 27




                     Registration    Registration
      Trademark                                                 Class(es) / Good(s)
                      Number            Date


                                      January 10,
                      3,039,629                      IC 025 – footwear and belts.
                                         2006

                                                     IC 018 – wallets, purses, handbags, tote
                                      January 10,    bags, business card cases, credit card
                      3,039,630
                                         2006        cases and key cases, partly or wholly of
                                                     leather.

                                                     IC 025 – neckties, scarves, belts,
                      3,072,547     March 28, 2006
                                                     footwear and gloves.

                                                   IC 018 – wallets, purses, handbags,
                                                   shoulder bags, clutch bags, tote bags,
                                                   business card cases, credit card cases,
                      3,072,549     March 28, 2006 partly and wholly of leather, key cases,
                                                   cosmetic cases sold empty, briefcases,
                                                   attaché cases, valises, suitcases and
                                                   duffles.
                                                     IC 009 – eyeglass frames and
                                                     sunglasses.

                                                     IC 014 – jewelry and watches.

                                                     IC 016 – agendas and notebooks.

                                                     IC 018 – wallets, purses, handbags,
                                      February 5,
                      3,378,755                      shoulder bags, clutch bags, tote bags,
                                         2008
                                                     business card cases, credit card cases,
                                                     partly and wholly of leather, key cases,
                                                     cosmetic cases sold empty, briefcases,
                                                     attaché cases, valises, suitcases and
                                                     duffles.

                                                     IC 025 – scarves, belts, footwear, shirts,
                                                     sweaters, coats, suits.




                                           8
Case 0:19-cv-61447-RKA Document 17 Entered on FLSD Docket 07/22/2019 Page 9 of 27




                        Registration    Registration
      Trademark                                                   Class(es) / Good(s)
                         Number            Date

                                                        IC 014 – jewelry.

                                                       IC 018 – wallets, purses, handbags,
                                                       shoulder bags, clutch bags, tote bags,
                                                       business card cases, credit card cases
                                                       partly and wholly of leather, key cases,
                         4,220,947     October 9, 2012
                                                       cosmetic cases sold empty, briefcases,
                                                       attaché cases, valises, suitcases and
                                                       duffel bags.

                                                        IC 025 – neckties, scarves, belts,
                                                        footwear and gloves.
                                                        IC 014 – jewelry.

                                                        IC 018 – wallets, purses, handbags,
                                                        shoulder bags, clutch bags, tote bags,
                                                        business card cases, credit card cases
                                         October 23,    partly and wholly of leather, key cases,
                         4,229,081
                                            2012        cosmetic cases sold empty, briefcases,
                                                        attache cases, valises, suitcases and
                                                        duffel bags.

                                                        IC 025 – neckties, scarves, belts,
                                                        footwear and gloves.

                                                      IC 025 – shorts, pants, jeans, leggings, t-
                                                      shirts, polo shirts, shirts, sweaters,
                                                      sweatshirts, dresses, skirts, swimwear,
                         4,379,039     August 6, 2013
                                                      one piece garments for infants and
     (Green Red Green                                 toddlers, cloth bibs, scarves, ties, hats,
       Stripe Design)
                                                      gloves, suspenders, belts.

                                                        IC 009 – protective covers and cases for
                                                        mobile electronic devices and
                         4,563,071      July 8, 2014    computers.

                                                        IC 014 – watches.




                                              9
Case 0:19-cv-61447-RKA Document 17 Entered on FLSD Docket 07/22/2019 Page 10 of 27




                        Registration   Registration
      Trademark                                                   Class(es) / Good(s)
                         Number           Date

                                                       IC 009 – protective covers and cases for
                                                       mobile electronic communication
                                                       devices and computers; computer
        GUCCI            4,563,098     July 8, 2014    application software for all mobile
                                                       devices, namely, software for providing
                                                       information in the field of fashion, the
                                                       arts and lifestyle.
                                                       IC 018 – handbags, shoulder bags,
                                                       clutch bags, tote bags, briefcases,
                                                       business card cases, credit card cases,
                                                       backpacks, key cases, passport cases,
                                                       cosmetic cases sold empty, valises,
        GUCCI            4,563,132     July 8, 2014
                                                       suitcases, luggage, all the foregoing
                                                       being made in whole or in part of
                                                       leather; pet accessories, namely,
                                                       carriers, collars and leashes; pet collar
                                                       accessories, namely, charms.
                                                       IC 014 – jewelry and key rings of
                                                       precious metal.

                                                       IC 009 – eyeglasses and sunglasses and
                                                       cases therefor; protective covers and
                                                       cases for mobile electronic
                                                       communication devices and computers;
                         4,567,112     July 15, 2014   cell phone straps; computer carrying
                                                       cases.
     (Green Red Green
       Stripe Design)
                                                       IC 018 – cosmetic cases sold empty,
                                                       suitcases, luggage, duffle bags, diaper
                                                       bags partly and wholly of leather; pet
                                                       accessories, namely, carriers, collars and
                                                       leashes.




                                            10
Case 0:19-cv-61447-RKA Document 17 Entered on FLSD Docket 07/22/2019 Page 11 of 27




                           Registration     Registration
       Trademark                                                       Class(es) / Good(s)
                            Number             Date

                                                            IC 009 – protective covers and cases for
                                                            mobile electronic communications
                                                            devices and computers; computer cases
                                                            made of leather.

                                                            IC 014 – watches.

                            4,583,258     August 12, 2014 IC 018 – backpacks, trollies, baby bags,
                                                          computer cases made of leather, garment
                                                          bags, pet accessories, namely, carriers,
                                                          collars and leashes; pet collar
                                                          accessories, namely, charms.

                                                            IC 025 – clothing, namely, shirts and
                                                            jackets.
                                                            IC 018 – handbags and wallets.
                                            November 1,
                            5,073,022
                                               2016
                                                            IC 025 – belts and footwear.

   The Gucci Marks are used in connection with the manufacture and distribution of high quality

   luxury goods in the categories identified above. True and correct copies of the Certificates of

   Registration for the Gucci Marks are attached hereto as Composite Exhibit “1.”

            16.   The Gucci Marks have been used in interstate commerce to identify and

   distinguish Gucci’s high quality luxury goods for an extended period of time.

            17.   The Gucci Marks have been used by Gucci long prior in time to Defendants’ use

   of copies of those Marks. The Gucci Marks have never been assigned or licensed to any of the

   Defendants in this matter.

            18.   The Gucci Marks are symbols of Gucci’s quality, reputation and goodwill and

   have never been abandoned. Gucci has carefully monitored and policed the use of the Gucci

   Marks.




                                                  11
Case 0:19-cv-61447-RKA Document 17 Entered on FLSD Docket 07/22/2019 Page 12 of 27



          19.     The Gucci Marks are well known and famous and have been for many years.

   Gucci has expended substantial time, money and other resources developing, advertising and

   otherwise promoting the Gucci Marks. The Gucci Marks qualify as famous marks as that term is

   used in 15 U.S.C. §1125(c)(1).

          20.     Further, Gucci has extensively used, advertised, and promoted the Gucci Marks in

   the United States in association with the sale of high quality luxury goods. Gucci has spent

   millions of dollars promoting the Gucci Marks and products bearing the Gucci Marks. In recent

   years, annual sales of products bearing the Gucci Marks have totaled in the hundreds of millions

   of dollars within the United States.

          21.     As a result of Gucci’s efforts, members of the consuming public readily identify

   merchandise bearing or sold under the Gucci Marks as being high quality luxury goods

   sponsored and approved by Gucci.

          22.     Accordingly, the Gucci Marks have achieved secondary meaning as identifiers of

   high quality luxury goods.

          23.     Genuine goods bearing the Gucci Marks are widely legitimately advertised and

   promoted by Gucci, its authorized distributors, and unrelated third parties via the Internet.

   Visibility on the Internet, particularly via Internet search engines such as Google, Yahoo!, and

   Bing has become increasingly important to Gucci’s overall marketing and consumer education

   efforts. Thus, Gucci expends significant monetary resources on Internet marketing and consumer

   education, including search engine optimization (“SEO”) strategies. Those strategies allow Gucci

   and its authorized retailers to fairly and legitimately educate consumers about the value

   associated with the Gucci brand and the goods sold thereunder.          Similarly, Defendants’




                                                 12
Case 0:19-cv-61447-RKA Document 17 Entered on FLSD Docket 07/22/2019 Page 13 of 27



   individual seller stores are indexed on search engines and compete directly with Gucci for space

   in search results.

           Defendants’ Infringing Activities

           24.     Upon information and belief, Defendants are promoting and advertising,

   distributing, selling, and/or offering for sale goods in interstate commerce bearing counterfeit

   and confusingly similar imitations of the Gucci Marks (the “Counterfeit Goods”) through at least

   the Internet based e-commerce stores operating under the Seller IDs. Several Defendants are

   also using, at least, the listings and associated images identified by the Amazon Standard

   Identification Numbers (“ASIN”) on Schedule “A” annexed hereto. Specifically, upon

   information and belief, Defendants are using identical copies of one or more of the Gucci Marks

   for different quality goods. Gucci has used the Gucci Marks extensively and continuously before

   Defendants began offering counterfeit and confusingly similar imitations of Gucci’s

   merchandise.

           25.     Upon information and belief, Defendants’ Counterfeit Goods are of a quality

   substantially different than that of Gucci’s genuine goods. Defendants, upon information and

   belief, are actively using, promoting and otherwise advertising, distributing, selling and/or

   offering for sale substantial quantities of their Counterfeit Goods with the knowledge and intent

   that such goods will be mistaken for the genuine high quality goods offered for sale by Gucci,

   despite Defendants’ knowledge that they are without authority to use the Gucci Marks. The net

   effect of Defendants’ actions will cause confusion of consumers, at the time of initial interest,

   sale, and in the post-sale setting, who will believe Defendants’ Counterfeit Goods are genuine

   goods originating from, associated with, and approved by Gucci.




                                                  13
Case 0:19-cv-61447-RKA Document 17 Entered on FLSD Docket 07/22/2019 Page 14 of 27



           26.     Defendants advertise their Counterfeit Goods for sale to the consuming public via

   e-commerce stores on, at least, one Internet marketplace website using, at least, the Seller IDs. In

   so advertising these goods, Defendants improperly and unlawfully use one or more of the Gucci

   Marks without Gucci’s permission.

           27.     As part of their overall infringement and counterfeiting scheme, Defendants are,

   upon information and belief, concurrently employing and benefitting from substantially similar,

   advertising and marketing strategies based, in large measure, upon an illegal use of counterfeits

   and infringements of the Gucci Marks. Specifically, Defendants are using counterfeits and

   infringements of Gucci’s famous name and the Gucci Marks in order to make their e-commerce

   stores selling illegal goods appear more relevant and attractive to consumers online. By their

   actions, Defendants are contributing to the creation and maintenance of an illegal marketplace

   operating in parallel to the legitimate marketplace for Gucci’s genuine goods. Defendants are

   causing individual, concurrent and indivisible harm to Gucci and the consuming public by (i)

   depriving Gucci and other third parties of their right to fairly compete for space within search

   engine results and reducing the visibility of Gucci’s genuine goods on the World Wide Web, (ii)

   causing an overall degradation of the value of the goodwill associated with the Gucci Marks, and

   (iii) increasing Gucci’s overall cost to market its goods and educate consumers about its brand

   via the Internet.

           28.     Upon information and belief, Defendants are concurrently targeting their

   counterfeiting and infringing activities toward consumers and causing harm within this district

   and elsewhere throughout the United States. As a result, Defendants are defrauding Gucci and

   the consuming public for Defendants’ own benefit.




                                                   14
Case 0:19-cv-61447-RKA Document 17 Entered on FLSD Docket 07/22/2019 Page 15 of 27



          29.     Upon information and belief, at all times relevant hereto, Defendants in this action

   had full knowledge of Gucci’s ownership of the Gucci Marks, including its exclusive right to use

   and license such intellectual property and the goodwill associated therewith.

          30.     Defendants’ use of the Gucci Marks, including the promotion and advertisement,

   reproduction, distribution, sale and offering for sale of their Counterfeit Goods, is without

   Gucci’s consent or authorization.

          31.     Defendants are engaging in the above-described illegal counterfeiting and

   infringing activities knowingly and intentionally or with reckless disregard or willful blindness to

   Gucci’s rights for the purpose of trading on Gucci’s goodwill and reputation. If Defendants’

   intentional counterfeiting and infringing activities are not preliminarily and permanently

   enjoined by this Court, Gucci and the consuming public will continue to be harmed.

          32.     Defendants’ above identified infringing activities are likely to cause confusion,

   deception, and mistake in the minds of consumers before, during and after the time of purchase.

   Moreover, Defendants’ wrongful conduct is likely to create a false impression and deceive

   customers, the public, and the trade into believing there is a connection or association between

   Gucci’s genuine goods and Defendants’ Counterfeit Goods, which there is not.

          33.     Upon information and belief, Defendants’ payment and financial accounts,

   including but not limited to those specifically set forth on Schedule “A,” are being used by

   Defendants to accept, receive, and deposit profits from Defendants’ trademark counterfeiting and

   infringing and unfairly competitive activities connected to their Seller IDs and any other alias

   seller identification names being used and/or controlled by them.

          34.     Further, upon information and belief, Defendants are likely to transfer or secret

   their assets to avoid payment of any monetary judgment awarded to Gucci.




                                                   15
Case 0:19-cv-61447-RKA Document 17 Entered on FLSD Docket 07/22/2019 Page 16 of 27



          35.     Gucci has no adequate remedy at law.

          36.     Gucci is suffering irreparable injury and has suffered substantial damages as a

   result of Defendants’ unauthorized and wrongful use of the Gucci Marks.           If Defendants’

   counterfeiting and infringing, and unfairly competitive activities are not preliminarily and

   permanently enjoined by this Court, Gucci and the consuming public will continue to be harmed.

          37.     The harm and damages sustained by Gucci have been directly and proximately

   caused by Defendants’ wrongful reproduction, use, advertisement, promotion, offers to sell, and

   sale of their Counterfeit Goods.

            COUNT I - TRADEMARK COUNTERFEITING AND INFRINGEMENT
              PURSUANT TO § 32 OF THE LANHAM ACT (15 U.S.C. § 1114)

          38.     Gucci hereby adopts and re-alleges the allegations set forth in Paragraphs 1

   through 37 above.

          39.     This is an action for trademark counterfeiting and infringement against

   Defendants based on their use of counterfeit and confusingly similar imitations of the Gucci

   Marks in commerce in connection with the promotion, advertisement, distribution, offering for

   sale and sale of the Counterfeit Goods.

          40.     Defendants are promoting and otherwise advertising, selling, offering for sale,

   and distributing goods bearing and/or using counterfeits and/or infringements of one or more of

   the Gucci Marks. Defendants are continuously infringing and inducing others to infringe the

   Gucci Marks by using one or more of them to advertise, promote, sell, and offer to sell

   counterfeit and infringing Gucci branded goods.

          41.     Defendants’ concurrent counterfeiting and infringing activities are likely to cause

   and actually are causing confusion, mistake, and deception among members of the trade and the

   general consuming public as to the origin and quality of Defendants’ Counterfeit Goods.



                                                  16
Case 0:19-cv-61447-RKA Document 17 Entered on FLSD Docket 07/22/2019 Page 17 of 27



          42.       Defendants’ unlawful actions have caused and are continuing to cause

   unquantifiable damages to Gucci and are unjustly enriching Defendants with profits at Gucci’s

   expense.

          43.       Defendants’ above-described illegal actions constitute counterfeiting and

   infringement of the Gucci Marks in violation of Gucci’s rights under § 32 of the Lanham Act, 15

   U.S.C. § 1114.

          44.       Gucci has suffered and will continue to suffer irreparable injury and damages due

   to Defendants’ above described activities if Defendants are not preliminarily and permanently

   enjoined. Additionally, Defendants will continue to wrongfully profit from their illegal activities.

                    COUNT II - FALSE DESIGNATION OF ORIGIN
              PURSUANT TO § 43(a) OF THE LANHAM ACT (15 U.S.C. § 1125(a))

          45.       Gucci hereby adopts and re-alleges the allegations set forth in Paragraphs 1

   through 37 above.

          46.       Upon information and belief, Defendants’ Counterfeit Goods bearing, offered for

   sale and sold using copies of one or more of the Gucci Marks have been widely advertised and

   offered for sale throughout the United States via at least one Internet marketplace website.

          47.       Defendants’ Counterfeit Goods bearing, offered for sale, and sold using copies of

   at least one of the Gucci Marks are virtually identical in appearance to Gucci’s genuine goods.

   However, Defendants’ Counterfeit Goods are different in quality. Accordingly, Defendants’

   activities are likely to cause confusion in the trade and among the general public as to at least the

   origin or sponsorship of their Counterfeit Goods.

          48.       Defendants, upon information and belief, have used in connection with their

   advertisement, offer for sale, and sale of their Counterfeit Goods, false designations of origin and

   false descriptions and representations, including words or other symbols and trade dress, which



                                                    17
Case 0:19-cv-61447-RKA Document 17 Entered on FLSD Docket 07/22/2019 Page 18 of 27



   tend to falsely describe or represent such goods and have caused such goods to enter into

   commerce with full knowledge of the falsity of such designations of origin and such descriptions

   and representations, all to Gucci’s detriment.

          49.     Defendants have authorized infringing uses of one or more of the Gucci Marks in

   Defendants’ advertisement and promotion of their counterfeit and infringing branded goods.

   Defendants have misrepresented to members of the consuming public that the Counterfeit Goods

   being advertised and sold by them are genuine, non-infringing goods.

          50.     Additionally, Defendants are using counterfeits and infringements of one or more

   of the Gucci Marks in order to unfairly compete with Gucci and others for space within search

   engine organic results, thereby jointly depriving Gucci of a valuable marketing and educational

   tool which would otherwise be available to Gucci and reducing the visibility of Gucci’s genuine

   goods on the World Wide Web.

          51.     Defendants’ above-described actions are in violation of Section 43(a) of the

   Lanham Act, 15 U.S.C. §1125(a).

          52.     Gucci has no adequate remedy at law, and has sustained indivisible injury and

   damage caused by Defendants’ concurrent conduct. Absent an entry of an injunction by this

   Court, Defendants will continue to wrongfully reap profits and Gucci will continue to suffer

   irreparable injury to its goodwill and business reputation, as well as monetary damages.

                        COUNT III - COMMON LAW UNFAIR COMPETITION.

          53.     Gucci hereby adopts and re-alleges the allegations set forth in Paragraphs 1

   through 37 above.

          54.     This is an action against Defendants based on their promotion, advertisement,

   distribution, sale and/or offering for sale of goods bearing and/or using marks that are virtually




                                                    18
Case 0:19-cv-61447-RKA Document 17 Entered on FLSD Docket 07/22/2019 Page 19 of 27



   identical, both visually and phonetically, to the Gucci Marks in violation of Florida’s common

   law of unfair competition.

          55.     Specifically, Defendants are promoting and otherwise advertising, selling,

   offering for sale and distributing goods bearing counterfeits and infringements of one or more of

   the Gucci Marks. Defendants are also using counterfeits and infringements of one or more of the

   Gucci Marks to unfairly compete with Gucci and others for (1) space in search engine results

   across an array of search terms and (2) visibility on the World Wide Web.

          56.     Defendants’ infringing activities are likely to cause and actually are causing

   confusion, mistake and deception among members of the trade and the general consuming public

   as to the origin and quality of Defendants’ products by their use of the Gucci Marks.

          57.     Gucci has no adequate remedy at law and is suffering irreparable injury and

   damages as a result of Defendants’ actions.

                   COUNT IV - COMMON LAW TRADEMARK INFRINGEMENT

          58.     Gucci hereby adopts and re-alleges the allegations set forth in Paragraphs 1

   through 37 above.

          59.     This is an action for common law trademark infringement against Defendants

   based on their promotion, advertisement, offering for sale, and sale of their Counterfeit Goods

   bearing one or more of the Gucci Marks. Gucci is the owner of all common law rights in and to

   the Gucci Marks.

          60.     Specifically, Defendants, upon information and belief, are promoting, and

   otherwise advertising, distributing, offering for sale, and selling goods bearing infringements of

   one or more of the Gucci Marks.




                                                  19
Case 0:19-cv-61447-RKA Document 17 Entered on FLSD Docket 07/22/2019 Page 20 of 27



          61.     Defendants’ infringing activities are likely to cause and actually are causing

   confusion, mistake and deception among members of the trade and the general consuming public

   as to the origin and quality of Defendants’ Counterfeit Goods bearing the Gucci Marks.

          62.     Gucci has no adequate remedy at law and is suffering damages and irreparable

   injury as a result of Defendants’ actions.

                                        PRAYER FOR RELIEF

          63.     WHEREFORE, Gucci demands judgment on all Counts of this Amended

   Complaint and an award of equitable relief and monetary relief against Defendants as follows:

                  a.      Entry of temporary, preliminary, and permanent injunctions pursuant to 15

   U.S.C. § 1116 and Federal Rule of Civil Procedure 65 enjoining Defendants, their agents,

   representatives, servants, employees, and all those acting in concert or participation therewith,

   from manufacturing or causing to be manufactured, importing, advertising or promoting,

   distributing, selling or offering to sell their Counterfeit Goods; from infringing, counterfeiting, or

   diluting the Gucci Marks; from using the Gucci Marks, or any mark or design similar thereto, in

   connection with the sale of any unauthorized goods; from using any logo, trade name or

   trademark or design that may be calculated to falsely advertise the services or goods of

   Defendants as being sponsored by, authorized by, endorsed by, or in any way associated with

   Gucci; from falsely representing themselves as being connected with Gucci, through sponsorship

   or association, or engaging in any act that is likely to falsely cause members of the trade and/or

   of the purchasing public to believe any goods or services of Defendants, are in any way endorsed

   by, approved by, and/or associated with Gucci; from using any reproduction, counterfeit,

   infringement, copy, or colorable imitation of the Gucci Marks in connection with the publicity,

   promotion, sale, or advertising of any goods sold by Defendants; from affixing, applying,




                                                    20
Case 0:19-cv-61447-RKA Document 17 Entered on FLSD Docket 07/22/2019 Page 21 of 27



   annexing or using in connection with the sale of any goods, a false description or representation,

   including words or other symbols tending to falsely describe or represent Defendants’ goods as

   being those of Gucci, or in any way endorsed by Gucci and from offering such goods in

   commerce; from engaging in search engine optimization strategies using colorable imitations of

   Gucci’s name or trademarks and from otherwise unfairly competing with Gucci.

                  b.      Entry of a temporary restraining order, as well as preliminary and

   permanent injunctions pursuant to 28 U.S.C. § 1651(a), The All Writs Act, enjoining Defendants

   and all third parties with actual notice of the injunction from participating in, including providing

   financial services, technical services or other support to, Defendants in connection with the sale

   and distribution of non-genuine goods bearing and/or using counterfeits of the Gucci Marks.

                  c.      Entry of an Order pursuant to 28 U.S.C. § 1651(a), The All Writs Act,

   that, upon Gucci’s request, the applicable governing Internet marketplace website operators

   and/or administrators for the Seller IDs who are provided with notice of the injunction, including

   but not limited to, Amazon.com, Inc., Bonanza, Inc., eBay Inc., Storenvy Inc., and ContextLogic,

   Inc., which operates the Wish.com platform, disable and/or cease facilitating access to the Seller

   IDs and any other alias seller identification names being used and/or controlled by Defendants to

   engage in the business of marketing, offering to sell, and/or selling goods bearing counterfeits

   and infringements of the Gucci Marks.

                  d.      Entry of an order that, upon Plaintiff’s request, any Internet marketplace

   website operators and/or administrators who are provided with notice of the injunction, including

   but not limited to Amazon.com, Inc., Bonanza, Inc., eBay Inc., Storenvy Inc., and ContextLogic,

   Inc., which operates the Wish.com platform, identify any e-mail address known to be associated

   with Defendants’ respective Seller ID.




                                                    21
Case 0:19-cv-61447-RKA Document 17 Entered on FLSD Docket 07/22/2019 Page 22 of 27



                  e.       Entry of an Order pursuant to 28 U.S.C. § 1651(a), The All Writs Act, that

   upon Gucci’s request, any Internet marketplace website operators and/or administrators who are

   provided with notice of the injunction, including but not limited to Amazon.com, Inc., Bonanza,

   Inc., eBay Inc., Storenvy Inc., and ContextLogic, Inc., which operates the Wish.com platform,

   permanently remove from the multiple platforms, which include, inter alia, a Direct platform,

   Group platform, Seller Product Management platform, Vendor Product Management platform,

   and Brand Registry platform, any and all listings and associated images of goods bearing

   counterfeits and/or infringements of the Gucci Marks via the e-commerce stores operating under

   the Seller IDs, including but not limited to the listings and associated images identified by the

   “parent” and/or “child” Amazon Standard Identification Numbers (“ASIN”) on Schedule “A”

   annexed hereto, and upon Gucci’s request, any other listings and images of goods bearing

   counterfeits and/or infringements of the Gucci Marks associated with any “parent” and “child”

   ASIN linked to the same sellers or linked to any other alias seller identification names being used

   and/or controlled by Defendants to promote, offer for sale and/or sell goods bearing counterfeits

   and/or infringements of the Gucci Marks.

                  f.       Entry of an Order pursuant to 28 U.S.C. § 1651(a), The All Writs Act,

   that, upon Gucci’s request, any Internet marketplace website operators and/or administrators who

   are provided with notice of the injunction, including but not limited to Amazon.com, Inc.,

   Bonanza, Inc., eBay Inc., Storenvy Inc., and ContextLogic, Inc., which operates the Wish.com

   platform, immediately cease fulfillment of and sequester all goods of each Defendant bearing

   one or more of the Gucci Marks in its inventory, possession, custody, or control, and surrender

   those goods to Gucci.




                                                   22
Case 0:19-cv-61447-RKA Document 17 Entered on FLSD Docket 07/22/2019 Page 23 of 27



                  g.      Entry of an Order requiring Defendants to account to and pay Gucci for all

   profits and damages resulting from Defendants’ trademark counterfeiting and infringing and

   unfairly competitive activities and that the award to Gucci be trebled, as provided for under 15

   U.S.C. §1117, or, at Gucci’s election with respect to Count I, that Gucci be awarded statutory

   damages from each Defendant in the amount of two million dollars ($2,000,000.00) per each

   counterfeit trademark used and product sold, as provided by 15 U.S.C. §1117(c)(2) of the

   Lanham Act.

                  h.      Entry of an award pursuant to 15 U.S.C. § 1117 (a) and (b) of Gucci’s

   costs and reasonable attorneys’ fees and investigative fees associated with bringing this action.

                  i.      Entry of an Order that, upon Gucci’s request, Defendants and any

   financial institutions, payment processors, banks, escrow services, money transmitters, or

   marketplace platforms, including but not limited to, Amazon Payments, Inc., PayPal, Inc.,

   ContextLogic, Inc., which operates the Wish.com platform, and their related companies and

   affiliates, identify and restrain all funds, up to and including the total amount of judgment, in all

   financial accounts and/or sub-accounts used in connection with the Seller IDs or other alias seller

   identification or e-commerce store names used by Defendants presently or in the future, as well

   as any other related accounts of the same customer(s) and any other accounts which transfer

   funds into the same financial institution account(s), to be surrendered to Gucci in partial

   satisfaction of the monetary judgment entered herein.

                  j.      Entry of an award of pre-judgment interest on the judgment amount.




                                                    23
Case 0:19-cv-61447-RKA Document 17 Entered on FLSD Docket 07/22/2019 Page 24 of 27



                k.    Entry of an Order for any further relief as the Court may deem just and

   proper.                   p

   DATED: July 22, 2019.            Respectfully submitted,

                                    STEPHEN M. GAFFIGAN, P.A.

                                    By: T. Raquel Wiborg-Rodriguez
                                    Stephen M. Gaffigan (Fla. Bar No. 025844)
                                    Virgilio Gigante (Fla. Bar No. 082635)
                                    T. Raquel Wiborg-Rodriguez (Fla. Bar. No. 103372)
                                    401 East Las Olas Blvd., Suite 130-453
                                    Ft. Lauderdale, Florida 33301
                                    Telephone: (954) 767-4819
                                    Facsimile: (954) 767-4821
                                    E-mail: Stephen@smgpa.net
                                    E-mail: Leo@smgpa.net
                                    E-mail: Raquel@smgpa.net

                                    Attorneys for Plaintiff
                                    GUCCI AMERICA, INC.




                                             24
  Case 0:19-cv-61447-RKA Document 17 Entered on FLSD Docket 07/22/2019 Page 25 of 27



                                SCHEDULE “A”
       DEFENDANTS BY NUMBER, SELLER ID, FINANCIAL ACCOUNT INFORMATION,
                 STORE URL, AND ADDITIONAL E-MAIL ADDRESSES

Def.                                                               Customer Service E-mail /
           Defendant / Seller ID   Financial Account Information
No.                                                                      Store URL
 1     anxunss                     APKVSB3ANV5EM
 1     ZXNQIQI                     APKVSB3ANV5EM
 2     Balgey                      A3HLUCBCHUKXTZ
 3     BBNO1                       A261W35TI2V7LF
       Bozhou City Noxin Trading
 4     Co., Ltd                    AD8EO3U6WEIVS
 5     Canlans                     A3HKJJUETAQL0R
 6     Coubin                      A2U3UIRYBFXNX1
 7     Dorapocket                  A3Q8H5FJOY270Z
 8     Flowerorld                  A1T31AQ999W7UE
 9     Goes Boys&Girls             A3J9HEY7RX64GV
10     He Aihua                    A61D2OBD2KQQZ
       HUACHENG GONGMAO
11     CO.LTD.                     ATIUW158H5W95
12     Huut                        A1KHXDJNZ0GYL2
13     jiehaoyuntong               A3KVXF1H5YM1EY
14     JiuTOPAA                    A3J54G5XP5NBVS
15     Marco K Mullins             A1019AMFNXV448
16     MAVON                       A1I5TBFKHOY2H7
17     Mingyuming                  ATVPDKIKX0DER
18     minkki                      A18DNX0GKBPMXA
19     NUTLCE                      A362X55IYRQ1QZ

20     QEWY                        A3IYHEFC6WVKGJ
21     shijiat                     A1ACALMGUUEQLB
22     shizongmaoyi                A3SXBVLCJINK4A
23     Sun Hui Bo                  AXU327NW4289D
24     yunguantui7fr               A1DDJMOIC44B56
25     KuninganLoverz              MeliniaFitri2000@gmail.com
26     45mkj8nb20                  62H53629HD338881W
27     alaiyacase                  13288205Y0496481V
28     alfatku_0                   2G331163PB491072Y
29     amyma123a                   74F26660N0322513L
30     arktic1955                  5UE58922D9092364G
31     arz058                      2M83477307545911C
32     custom-tees                 0VF19399KX8776416
33     diakartin_4                 0H3477333X771050F
34     discountfitness777          1EH08666H31939045
35     edsofart                    99E0666075404315U


                                             25
  Case 0:19-cv-61447-RKA Document 17 Entered on FLSD Docket 07/22/2019 Page 26 of 27



Def.                                                                  Customer Service E-mail /
            Defendant / Seller ID   Financial Account Information
No.                                                                         Store URL
 36    flad_5                       7UU47215SY319125G
 37    flnasr_0                     72218799RB296972H
 38    glenda86                     3VV30976PH3713158
 39    gundopaco-0                  7K601782CN836782H
 40    high-quality-market          2RR05489746960533
 41    jackhandsmooth               9V2531109E434802E
 42    jiangailv                    9T906933HU036062L
 43    lanliangdao519153            47K90179KP712450M
 44    lianxinnuo40448              8CN3389444044283B
 45    liuiueyy                     8PK40069LD751011R
 46    mbxstore                     0R339844RH2823014
 47    memery-31                    3YS809002E974363M
 48    moarn-28                     3PG24414V2090931L
 49    mysnai_0                     9FG52042BS450510J
 50    neddy.99                     7GV7913206567341V
 50    blueblood.99                 7GV7913206567341V
 51    nur_97                       8YG55073KU9738733
 52    petitemother45               52666794G4434834R
 53    puxingjing85644              93Y20309HM270001C
 54    qunla-84                     48F57964AF652404R
 55    rubida*                      2E526393EC622194F
 56    sampoerna199                 2CW73646BA173204N
 57    siskdarwant-0                3LH46609PX350713D
 58    store1081                    74703270631702222
 59    tanitanjan_0                 66A51506EM2949214
 60    tesarindu_biz                38X877027J908654C
 61    whitemagicart                4A405515H0146084T
 62    yishengpingan226             8EB86687LF003120V
 62    wpeeq7772                    8EB86687LF003120V
 63    yongkwijanark-0              9N237188T91803351
 64    Chibi Store                  zahrotuluyuni@yahoo.com
 65    FushionShop                  kusumajati221@gmail.com         emailmamen@gmail.com
 66    happydogdogstore             81114270@qq.com                 happydogstore@163.com
                                                                    admin@jerryshoppe.com
67     jerryshoppe                  trirachmat@yahoo.com            ringmme@gmail.com
                                                                    https://www.wish.com/merchant/
68     apilooking                   PAYPAL *WISH                    58a56b643a8c36510ee68041
                                                                    https://www.wish.com/merchant/
69     lzteam                       PAYPAL *WISH                    5abb47bf9d5e9745dbafc61f
                                                                    https://www.wish.com/merchant/
70     shagor                       PAYPAL *WISH                    58abd476c4d842504bc4f802
                                                                    https://www.wish.com/merchant/
71     tiffylove                    PAYPAL *WISH                    58635b858f6e0a4d675e66b1


                                              26
Case 0:19-cv-61447-RKA Document 17 Entered on FLSD Docket 07/22/2019 Page 27 of 27




                                        27
